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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION

UNITED STATES OF AMERICA                )
                                        )
       v.                               )       CR. NO.: 4:17CR00866-RBH
                                        )
BRANDON MICHAEL COUNCIL                 )

  BRANDON COUNCIL’S MOTION TO STRIKE THE DEATH PENALTY
      BECAUSE IT IS APPLIED UNCONSTITUTIONALLY AND
DISPROPORTIONATELY TO THOSE CHARGED WITH THE MURDER OF
                  WHITE, FEMALE VICTIMS

      Since the beginning of this case, Brandon Council has offered to plead guilty to

every single count in the indictment, waive all his appellate and post-conviction

rights, and accept a sentence which ensures that he will never be released from prison

for the rest of his life, for any reason. That offer still stands. Nevertheless, the

government continues to seek the death penalty. For that reason, examination of the

law and how it is applied must meet Constitutional scrutiny. Here, it does not. Mr.

Council is a black male charged with the killing of two, white women. In reviewing

death penalty cases, it is clear that the Federal Death Penalty Act is unconstitutional

because it is applied disproportionately to those accused of killing white, female

victims. Accordingly, this Court must strike the death penalty in this case due to

racial discrimination and disproportionality pursuant to 18 U.S.C. §3593(f) and 18

U.S.C. §3595(c)(2)(A) and the Fifth, Sixth, and Eighth Amendments to the United

States Constitution.




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      But if the government wants to proceed to a capital trial, the Court must

closely examine the FDPA and how it is applied.


      A. Brandon Council is an African-American charged with the murder
         of two, white women. The combination of a black defendant and
         white victims has resulted in grossly disproportionate death
         sentences.

      Brandon Council is an African-American male. The two victims in this case,

Mrs. Kathryn (Katie) Davis Skeen and Mrs. Donna Major, are Caucasian women.

This case presents a clear danger that the race of the defendant and/or the race of the

victim influenced the decision to seek the death penalty or will influence the jury’s

ultimate decision. “Since 2000, in a grossly disproportionate number of cases, juries

have imposed the death penalty when the victim was a white female.” See Exhibit 1

¶ 10 (June 17, 2016, Declaration of Kevin McNally).

      As referenced in Declaration of Kevin McNally, Lauren Cohen Bell, Ph.D., an

expert who has studied the federal death penalty “concludes that federal capital

defendants accused of the murder of white female are more than twice as likely than

other federal capital defendants to be sentenced to death.” Id. at 12. “Defendants who

killed white female victims are overrepresented among federal death sentenced

defendants,” and that there is “essentially zero” chance that the race and gender of

the victim is not related to the capital sentencing outcome. Id. at 49 (Declaration of

Lauren Cohen Bell, Ph.D., ¶¶ 11, 13). The numbers make it clear that the cases where

the victim is black does not result in comparable death sentences. See id.; see also

John Paul Stevens, On the Death Sentence, The New York Review of Books review of

David Garland’s Peculiar Institution: America’s Death Penalty in an Age of Abolition,

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Harvard University Press, Cambridge, 2010 (Dec. 23, 2010) (“That the murder of

black victims is treated as less culpable than the murder of white victims provides a

haunting reminder of once-prevalent Southern lynchings.”).

         Racial disparities and tensions permeate the criminal justice system generally,

but has grave and even more significance in the death penalty context. See Staff Of

Sub-Comm. On Civil & Constitutional Rights of The H. Comm. On The Judiciary,

103d Cong., Racial Disparities In Federal Death Penalty Prosecutions 1988-94,

reprinted in 140 Cong. Rec. S9588, 9588 (May 6, 1994) (“Race continues to plague the

application of the death penalty in the United States. . . . On the federal level, cases

selected have almost exclusively involved minority defendants.”). Similarly, Supreme

Court Justices Breyer and Ginsberg observed that race continues to play a role in the

operation of the death penalty:

         Numerous studies, for example, have concluded that individuals accused of
         murdering white victims, as opposed to black or other minority victims, are
         more likely to receive the death penalty. . . . Fewer, but still many, studies have
         found that the gender of the defendant or the gender of the victim makes a not-
         otherwise-warranted difference.

Glossip v. Gross, 135 S. Ct. 2726, 2760-2761 (2015) (Breyer J., Ginsberg, J.,

dissenting) (questioning the constitutionality of capital punishment).

         The former President of the United States Barack Obama also stated:

         [W]e know statistically that there is a racial bias that has been built into the
         death penalty . . . I’ve asked the Department of Justice [in addressing how to
         make the criminal justice system more fair] . . . to include examination of the
         death penalty.

The Marshall Project, Interview of President Obama, October 23, 2015. Available

online      at   https://www.themarshallproject.org/2015/10/23/watch-obama-discuss-

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death-penalty-racial-profiling-with-the-marshall-project (last accessed September

18, 2018). Professor Rory Little, writing from the perspective of having served on

Attorney General Reno’s Capital Case Review Committee, noted that serious

questions about regional and racial disparities had not been ameliorated by the

administrative process within the Justice Department. R.K. Little, 26 Fordham

Urban L.J., 347, 450-90 (1999). With the existence of these disparities and

constitutional concerns, litigation and a hearing before this Court is appropriate.

      B. The Federal Death Penalty is unevenly applied and suffers from
         intractable problems of racial discrimination in the targeting of
         minority defendants and a demonstrated race/gender-of-victim
         effect.

      From the earliest days of the government’s efforts to enforce a nation-wide

death penalty, patterns of uneven and apparently discriminatory application

appeared. From the very outset, the federal death penalty was utilized almost

exclusively by federal prosecutors in the South and, not surprisingly, federal death

verdicts were returned almost exclusively in those traditional “death-belt”

jurisdictions. Added to this arbitrary factor was the invidious circumstance of race,

since the federal death penalty, as it was rolled out in the 1990’s, targeted a

disproportionately large number of minority groups, particularly African-Americans

and Hispanics. Mr. Council is African-American. The victims in this case are two

white females.

      Despite the efforts of the Department of Justice to eliminate racial and

geographic influence in the administration of capital punishment, these disparities

are longstanding. In 2001, then Assistant Attorney General Holder examined the

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federal death penalty’s racial demographics and expressed concern over the racial

and ethnic disparities in its application. See Marc Lacey & Raymond Bonner, Reno

Troubled by Death Penalty Statistics, N.Y. TIMES, Sept. 12, 2000, at A17 (cited in

Racial Geography of the Federal Death Penalty). The numbers continue to reflect the

same disparities that caused such concern ten years ago. Not only are African-

Americans and minorities over-represented in the category of defendants authorized

for federal capital prosecution, but African-Americans are over-represented in the

category of defendants receiving the federal death penalty. See Exhibit 1 (Exhibit A

attached to June 17, 2016, Declaration of Kevin McNally). Two of the three

defendants executed under the federal death penalty were people of color. See Death

Penalty Information Center, List of Prisoners, Federal Death Row Prisoners,

http://www.deathpenaltyinfo.org/federal-death-row-prisoners (last visited September

13, 2018). Timothy McVeigh, who killed 168 people and injured over 680 others, is

the only white person to have been executed under the federal death penalty in the

modern era. Id.

      C. The race and gender of the victim, particularly white female
         victims, continue to play a strong role in the application of the
         federal death penalty.
      An assessment of federal capital cases completed on June 11, 2016, indicate

503 authorized cases, 74% are minority defendants (251 (50%) of whom are African-

American, 93 (18%) of whom are Latino, 24 who are “other” minorities (5%)) and only

27% (135) white. See Exhibit 1 ¶ 9 (June 17, 2016, Declaration of Kevin McNally).

The most salient feature of the federal death penalty is that it is used most frequently

for inter-racial offenses where the defendant is black and the victim white. In terms

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of the Attorney General’s decision to seek the death penalty, the odds of facing a

capital prosecution where the victim is white are significantly higher. See McNally,

Race and the Federal Death Penalty: A Nonexistent Problem Gets Worse, 53 DePaul

L. Rev. 1615 (2004) (documenting the white-victim effect through analysis of federal

capital prosecutions under Attorneys General Reno and Ashcroft through January

26, 2004).


      D. The death penalty has largely not been sought for the murder of
         minority victims during bank or armored vehicle robberies, and its
         application here suffers from intractable problems of racial
         discrimination in the targeting of minority defendants and a
         demonstrated race/gender-of-victim effect.
      The death penalty has generally not been sought where the victims are

minorities. For instance, in United States v. Hill et. al, S.D. TX, 17-CR-00007, the

four defendants, called a “robbery crew” committed a series of robberies and at least

two deadly robberies of armored trucks in the Houston, Texas area. The two male

victims were Hispanic and an African-American. Consistent with other cases, the

government did not seek the death penalty. It is clear that the government have not

sought the death penalty against most defendants who killed during bank or armored

vehicle robberies. Similarly, in the robbery-murder of 26-year-old armored truck

guard Alvaro Lopez-Ramos, in which $345,000 in cash was stolen, the government

did not seek the death penalty. See United States v. Mitchell et. al, S.D. FL. 11-CR-

20613-JLK.

      Examples are easily multiplied: United States v. Booker et al., N.D. GA. 11-CR-

255 (victim was a Hispanic female and the government did not seek the death



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penalty); United States v. Moss, S.D. FL. 10-CR-60264-JIC (victim was a Hispanic

male and the government did not seek the death penalty); United States v. Jackson,

D. NM. 10-CR-1374-MCA (victims were Hispanic and white female, and the

government did not seek the death penalty); United States v. Marshall, N.D. IL 07-

CR-0351 (victim was a black male bank teller and the government did not seek the

death penalty). See also Exhibit 2 (chart listing closed federal capital eligible cases

involving bank robbery or armored vehicle robbery through June 11, 2018).

      Similarly, white, racist prison killers and mass murderers have not even been

sentenced to death. Welborn, “Aryan Brotherhood Convicts Get Life Sentences,” The

Orange County Register (September 16, 2006). Similarly, a drug lord who was

convicted of multiple murders did not get the death penalty. Rashbaum, “Jury Votes

Against Execution in Trial of Drug Dealer Convicted in Two Killings,” New York

Times (February 10, 2007). Similarly, a drug kingpin with a criminal record, who

ordered the murder of a witness’ innocent father, was not sentenced to death. See

United States v. Solomon (W.D. Pa. No. 2:05-CR-00385-TFM). Jury spares life of

dealer who ordered hit, Pittsburgh Post-Gazette, November 5, 2007. In Arkansas,

Vertis Clay was sentenced to life for the gruesome murder for hire during a drug-

related robbery. See United States v. Clay, E.D. Ar 4:04-CR-00035-WRW. Inmate

Rudy Sablan was sentenced to life without parole for killing and mutilating a fellow

inmate. His cousin received the same sentence. The victim was stabbed to death and

his organs removed. Fong, “Sablan Sentenced in Prison Murder,” Rocky Mountain

News (June 21, 2008).



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      E. The discriminatory impact of the FDPA render it
         unconstitutional.

      In Eddings v. Oklahoma, 455 U.S. 104, 112 (1982), the Court insisted “that

capital punishment be imposed fairly, and with reasonable consistency, or not at all.”

If the Federal Death Penalty Act [FDPA] were written to limit the use of the federal

death penalty only to cases where whites were murdered, the statute would be

patently and facially unconstitutional. Alternatively, if the FDPA were written to

require that, in deciding whether to seek the death penalty, greater weight should be

accorded to seeking the death penalty where the victim was white, once again the

unconstitutionality of the statue would be obvious. Or, if jurors were told that it was

permissible to consider the murder of white people as more serious than the murder

of non-whites, once again the unconstitutionality of the statute would be plain.

      In reality, the FDPA operates with a demonstrable “white-victim effect,” that

is, a defendant’s chances of being authorized for a capital prosecution and then

actually sentenced to death increase significantly where the victim is white. This

practice, effect, and impact is reprehensible to the Constitution.

      Based on this “white-victim effect,” this Court should declare the FDPA

unconstitutional because it violates the Equal Protection Clause of the Constitution

and is arbitrary. Accordingly, this Court should bar the death penalty as a possible

punishment in this case, accept Mr. Council’s guilty plea, and impose a sentence that

will guarantee his death in prison without a marathon trial and years of litigation

thereafter.




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      F. In the event does not find strike the death penalty in this case,
         discovery and an evidentiary hearing regarding the issue of
         discrimination is requested to better submit the issue(s) to the
         Court.

      In United States v. Bass, 536 U.S. 862 (2002), the Supreme Court rejected

discovery related to the issue of race and the Attorney General’s selection of federal

capital defendants, but it did so in a situation where the defendant was accused of

the murder of a black person. This case is clearly distinguishable. First, it involves

white victims. Second, the defense here can, has, and does “submit relevant evidence

that similarly situated persons were treated differently…” Id. Therefore, the defense

should be “entitled to discovery.” Id. The Court should order the prosecution to

produce discovery regarding the decisions by the Attorney General to seek or not seek

the death penalty. This is important so that, at the hearing, the defense may present

evidence in mitigation of the prosecution’s decisions to seek or not seek the death

penalty, and jury decisions to impose or not impose death sentences. This evidence is

otherwise admissible but particularly is so under 18 U.S.C § 3593(f), entitled “Special

precaution to ensure against discrimination.”

      In several cases, district courts have granted motions for discovery on the issue

at stake here: the possibility of racial discrimination in federal capital charging. In

United States v. Bradley, 880 F. Supp. 271, 281 (M.D. Pa. 1994), the court issued a

discovery order, admonished the parties to cooperate in expediting and simplifying

the process, and stated that it would consider the government’s privilege claims in

camera, stating:




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      [T]he court will allow the defense a short amount of time to obtain the discovery
      it seeks, and admonishes both sides to be as cooperative as possible so as to
      ensure that discovery is timely completed. ... The government contends that
      the material sought by Defendant is protected by the deliberative process
      privilege. ... At this stage, the court is unable to determine whether the
      information sought by Defendant would fall within either the deliberative
      process or work-product categories. However, once the defense sets forth
      precisely what information it seeks, the court will permit the government to
      reassert these privileges. The court might then order an in camera review of
      the documents to determine if they truly fall within the parameters of these
      two doctrines.

880 F. Supp. 271, 281.

      Likewise, in United States v. Llera-Plaza, 181 F.Supp.2d 414 (E.D. Pa. 2002),

the district court ordered, and the prosecution provided, discovery of documents

pertaining to other capital-eligible federal prosecutions in the Eastern District of

Pennsylvania. After two motions for reconsideration and partial production of the

requested documents, the district court ordered the government “to produce for the

court, under seal for its in camera inspection, certain of the materials” covered by the

earlier order, 181 F. Supp.2d at 418. In United States v. Glover, 43 F.Supp.2d 1217,

1234-35 (D. Kan. 1999), the district court issued a similar order. The evidence at the

hearing will established that imposition of a death sentence in this case is like being

struck by lightning.

                                   CONCLUSION

      A sentence of death in this case would be disproportionate to life sentences

imposed in similar and aggravated cases. This Court should declare the FDPA

unconstitutional and order that this case proceed as a non-capital case. Upon such

ruling, Mr. Council will immediately plead guilty to all the charges and accept a



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punishment of life without the possibility of release after the Court has heard from

the victims’ family members who might wish to speak.



                                               Respectfully submitted,

                                               /s/ DUANE K. BRYANT
                                               1207 Brentwood Street
                                               High Point, NC 27260
                                               Phone: (336) 887-4804

                                               /s/ AKIN ADEPOJU
                                               Assistant Federal Public Defender
                                               800 King Street, Suite 200
                                               Wilmington, DE 19801
                                               Phone: (302) 573-6010

                                               /s/ MICHAEL A. MEETZE
                                               Assistant Federal Public Defender
                                               c/o McMillan Federal Building
                                               401 W. Evans Street, Suite # 105
                                               Florence, South Carolina 29501
                                               Phone: (843) 662-1510
                                               Attorney ID#: 6662

                                               /s/ WILLIAM F. NETTLES, IV
                                               Assistant Federal Public Defender
                                               c/o McMillan Federal Building
                                               401 W. Evans Street, Suite # 105
                                               Florence, South Carolina 29501
                                               Phone: (843) 662-1510
                                               Attorney ID#: 5935




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